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                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                  Plaintiff,               )
                                           )
            v.                             )     Civil Action No. 1:20-cv-1580-RCL
                                           )
JOHN R. BOLTON,                            )
                                           )
                  Defendant,               )
                                           )


                        NOTICE OF WITHDRAWAL OF COUNSEL

       Undersigned counsel, David Morrell, hereby withdraws his appearance on behalf of the

Plaintiff in the above-captioned case. Mr. Morrell is leaving the Department of Justice on

September 11, 2020, and will no longer have responsibility for this case. Plaintiff will continue

to be represented by other attorneys at the Department of Justice whose names appear in the

Government’s pleadings and briefs in this matter.




Dated: September 11, 2020                        Respectfully submitted,

                                                 JEFFREY BOSSERT CLARK
                                                 Acting Assistant Attorney General

                                                 MICHAEL SHERWIN
                                                 Acting United States Attorney

                                                 ALEXANDER K. HAAS
                                                 Director
                                                 Federal Programs Branch


                                                          /s/ David M. Morrell
                                                    David M. Morrell (D.C. Bar No. 1013411)
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